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                    9
                                                 UNITED STATES DISTRICT COURT
                   10
                                                        DISTRICT OF NEVADA
                   11

                   12 DINA BARELA, individually.                            CASE NO.: 2:21-cv-00084-RFB-NJK
                   13                      Plaintiff,
                                                                            STIPULATION AND ORDER TO EXTEND
                   14             vs.                                       STAY OF DISCOVERY PENDING THE
                                                                            OUTCOME OF PRIVATE MEDIATION
                   15 USAA CASUALTY INSURANCE
                      COMPANY, DOES 1 through 20, ROE                       (Second Request)
                   16 BUSINESS ENTITIES I through 20, inclusive
                      jointly and severally,
                   17
                                     Defendants.
                   18

                   19 ROBERT W. FREEMAN

                   20            COMES         NOW,     Plaintiff   DINA BARELA (“Barela”) and    Defendant    USAA
                   21 CASUALTY INSURANCE COMPANY (“USAA-CIC”), by and through their respective counsel

                   22 of record and hereby stipulate and make joint application (Second Request) to extend the stay of

                   23 discovery in this matter entered on October 19, 2021 until such time as the parties conclude a

                   24 mediation to which the parties have agreed. (ECF No. 27) The mediation previously scheduled

                   25 for December 2, 2021 has been moved to December 28, 2021.

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                    1            Good cause exists to continue the stay of discovery in this matter. Specifically, the parties

                    2 had previously scheduled mediation for November 17, 2021 with the Honorable Nancy Saitta,

                    3 which was the earliest timeframe all parties/counsel and the mediator could be available. However,

                    4 on the day of the mediation, hours prior to commencement, Plaintiff had to cancel and postpone the

                    5 mediation due to a sudden personal emergency. As a result, the parties agreed to continue the

                    6 November 17th scheduled mediation. Judge Saitta then rescheduled the mediation to December 2,

                    7 2021.

                    8            On November 24, 2021 Plaintiff’s counsel contacted Defendant’s counsel to request the

                    9 December 2, 2021 mediation be moved to December 28, 2021 due to occurrence of a sudden
                   10 medical illness by Plaintiff’s minor son that may require additional medical treatment. Defendant

                   11 had no objection to moving the December 2 mediation to December 28, 2021. Judge Saitta also

                   12 had no objection rescheduling the mediation to December 28, 2021 via zoom. As a result of these

                   13 events this joint request is made to extend the stay of discovery until after the mediation on

                   14 December 28, 2021.

                   15            The stay of discovery will allow the parties to explore the possibility of settlement through
                   16 mediation without incurring the time and expense of ongoing discovery prior to the mediation.

                   17            Within 14 days after completion of the mediation, the parties will submit a Stipulation and
                   18 Order reflecting resolution of some or all of the claims and/or advise the Court that the parties were

                   19 unable to resolve the claims and will submit new discovery deadlines, including the rebuttal expert

                   20 deadlines, discovery cutoff deadline (providing ample time to complete written

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                    1 discovery and depositions), deadline for filing dispositive motions and the deadline for filing the

                    2 Joint Pretrial Order.

                    3    DATED this 2nd day of December, 2021              DATED this 2nd day of December, 2021

                    4    Attorneys for Plaintiff                           Attorneys for Defendant
                    5
                         Approved for e-signature:                         Approved for e-signature
                    6
                         /s/ _Samantha A. Martin___________ _              /s/ _Jennifer A. Taylor________________
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                   14                                              ORDER
                   15
                                                                     IT IS SO ORDERED:
                   16             The parties must file a status report no later than January 11, 2022.
                                  Additionally, if the case does not settle at mediation, the parties must
                   17
                                  file a revised joint proposed discovery plan no later than January 11,
                                                                       UNITED STATES MAGISTRATE JUDGE
                   18             2022.

                   19             IT IS SO ORDERED.                  DATED:
                   20
                                  Dated: December 2, 2022
                   21                                            Nancy J. Koppe
                                                                 United States Magistrate Judge
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